                              United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                            June 30, 2023



Mr. William M. Ermine
FEDERAL PUBLIC DEFENDER'S OFFICE
Suite 600
1000 Walnut Street
Kansas City, MO 64106-0000

       RE: 23-2550 United States v. Kendra Kingsbury

Dear Counsel:

       The district court has transmitted a notice of appeal and docket entries in this matter, and
we have docketed them under the caption and case number shown above. Please include the
caption and the case number on all correspondence or pleadings submitted to the court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        An order appointing your office to represent appellant will be sent under separate Notice
of Docket Activity. Your duties as counsel are defined by Eighth Circuit Rule 27B and Eighth
Circuit's Plan to Expedite Criminal Appeals. Please review these materials which are on the
"Rules and Publications" page of our web site.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please review the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Useful information about briefing and the record on appeal
can be found at these links:

                     media.ca8.uscourts.gov/newcoa/notes/redactcr-egov.pdf
                       media.ca8.uscourts.gov/newcoa/forms/crbrchk.pdf
                      media.ca8.uscourts.gov/newcoa/forms/crrecord.pdf




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   Appellate Case: 23-2550 Page: 1 Date Filed: 06/30/2023 Entry ID: 5291659
         Please note that the court has eliminated the requirements for a clerk's record in criminal
appeals, effective January 1, 2013. Record references to the district record made in pleadings and
briefs filed in this court must be to the district court docket. For example, if the motion to
suppress is district court docket number 11 and a party wishes to reference page 7 of the motion
to suppress, the reference in the brief should be in the format: (R. Doc. 11, at p.7). Transcript
references should be to Volume and page number (TR., Vol.1, p.123). Exhibit references should
be to the exhibit label attached in the district court proceedings: (Government Exh. 1, page3;
Defense Exh. C, page 4). References to the Presentence Investigation Report should be to page
number: (PSR, p.17). Additional information should be provided whenever it is necessary to
clearly identify a document and avoid confusion.

        Paper copies of transcripts, Statement of Reasons, Presentence Investigation Reports and
exhibits will still be forwarded from the district court to the circuit clerk's office, and counsel
should check with the district court clerk's office to assure that all necessary materials are
transmitted on a timely basis.

        If a transcript will be required for the appeal, you should promptly contact the official
court reporter and complete CJA Form 24. This form is available as part of the CJA Forms
referenced above.

        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to meet the briefing deadlines will result in the issuance of an order to
show cause and may lead to dismissal of the appeal, as well as the initiation of disciplinary
proceedings. Requests for extensions of time must be filed on a timely basis and should establish
good cause. Overlength briefs are strongly discouraged. Permission to file an overlength brief
must be sought 7 days in advance of the due date. See Eighth Circuit Rule 28A(h).

        If you have any questions about the schedule or procedures for the case, please contact
our office.

                                                      Michael E. Gans
                                                      Clerk of Court

CJO

Enclosure(s)

cc:     Mr. Patrick Edwards
        Kendra Kingsbury
        Mr. David Alan Raskin
        Ms. Gayle Wambolt
        Ms. Paige A. Wymore-Wynn

           District Court/Agency Case Number(s): 4:21-cr-00101-SRB-1




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      Appellate Case: 23-2550 Page: 2 Date Filed: 06/30/2023 Entry ID: 5291659
Caption For Case Number: 23-2550

United States of America

            Plaintiff - Appellee

v.

Kendra Kingsbury

            Defendant - Appellant




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     Appellate Case: 23-2550 Page: 3 Date Filed: 06/30/2023 Entry ID: 5291659
Addresses For Case Participants: 23-2550

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   Appellate Case: 23-2550 Page: 4 Date Filed: 06/30/2023 Entry ID: 5291659
